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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
               vs.                           )              Case No. 20-CR-1210 JAP
                                             )
CHARLES BRENT JUSTICE,                       )
                                             )
       Defendant.                            )


     UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION TO SUPPRESS

       The United States of America responds in opposition to Defendant Charles Brent

Justice’s Motion to Suppress. Defendant’s motion incorrectly asserts that “law enforcement

breached [Defendant’s] Fourth Amendment right against unreasonable search and seizure.” As

the evidence will show, agents proceeded under an orally amended, valid grant of authority to

search Mr. Justice’s home and truck.

                                            FACTS

       1.      On February 7, 2020, the Air Force Office of Special Investigations (AFOSI)

received a call from Special Agent Zachary Souder of Homeland Security Investigations (HSI).

Souder explained that HSI had learned that a person living on base had attempted to illegally

import a silencer, contrary to the National Firearms Act (NFA) and other federal law. That

person was identified as Defendant, Charles Brent Justice. Defendant’s address on base and

status as an airman was confirmed through records checks.

       2.      Souder advised that the silencer had been intercepted at the John F. Kennedy mail

center in Jamaica, NY. U.S. Customs and Border Protection (CBP) agents examined the parcel



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containing the silencer, and verified that it contained a silencer. CBP agents shipped the package

to HSI agents in Albuquerque for further inspection.

       3.      In the meantime, Souder contacted Special Agent Nathan Kempton of the Bureau

of Alcohol, Tobacco, Firearms and Explosives (ATF), and asked him to conduct a Federal

Licensing System (FLS) check to verify whether Defendant had ever applied for or received the

required ATF permit and tax stamp allowing Defendant to import and or possess a silencer,

under the NFA. Kempton confirmed Defendant had never applied for and thus never received

the required permission to import or possess a silencer. Defendant had likewise never applied

for a Federal Firearms License, and was therefore not authorized to import, manufacture or sell a

silencer, and he cannot receive any NFA- controlled items at his residence.

       4.      That same date, AFOSI SA William McCoy investigated whether Defendant had

ever applied for or received permission to register and store firearms at his residence, as required

by Air Force Instruction 31-101, and documented on Air Force Form 1314. Air Force authorities

confirmed they had no record of Defendant applying for or receiving permission to register

and/or store any firearms at his on-base residence.

       5.      On February 10, 2020, AFOSI SA Meskill met with HSI SA Souder, who advised

that records show that over a 10 month period, Defendant had placed over 30 orders to

companies located in China. Approximately 15 of these orders were for suspected gun parts,

including a “trigger fish,” which is a part designed to convert a semiautomatic Glock pistol into a

fully automatic weapon, and a butt stock receiver, which allows a Glock pistol to be shoulder

fired similar to a short barreled rifle. Each of these items are controlled under the NFA, and

require permits and tax stamps before they may be legally possessed in the United States.




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        6.      The parcel intercepted by HSI listed Defendant as the recipient, at his on-base

residence. The shipper was listed as Xiaohuji, with the contents labeled as “fuel filter.” The

parcel was opened and examined by SA Meskill, who verified through ATF that the item it

contained was in fact a silencer.

        7.      On February 18, 2020, based upon the foregoing and other information, Base

Commander Colonel David Miller found probable cause existed, and granted agents authority to

search Defendant’s truck and residence by issuing an AF1176 Authority to Search and Seize.

The search was to take place after the package was delivered to Defendant.

        8.      Colonel Miller later determined that safety concerns weighed against the planned

controlled delivery. Colonel Miller found that probable cause existed to search Defendant’s

residence and truck, even without delivery of the silencer.

        9.      When agents searched Defendant’s residence and truck shortly thereafter, they

recovered additional silencers, as well as 17 unregistered firearms, nearly 7,000 rounds of

ammunition, and roughly 160 military headsets that appeared to be stolen.

                                          ARGUMENT

   I.        The Search of Defendant’s Residence and Vehicle Were Valid Because Search
             Authority Was Expanded Orally By The Base Commander.

        Defendant alleges that the search in this case was invalid because the “condition

precedent” to the execution of the warrant never occurred. Defendant assails the “reasons not

addressed or explained in the discovery” for not answering his question as to why the search

proceeded without the condition precedent. The government was unaware Defendant had any

doubt or questions about the manner in which the search was undertaken until it read the Motion

to Suppress, but will undertake to explain here.




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       A. Colonel Miller Lawfully Expanded The Search Authorization.

       Military Rule of Evidence 315 governs probable cause searches involving military

members and military property. This authority includes military housing located on military

bases. Under Military Rule of Evidence 315(b)(1), “[a]n ‘authorization to search’ is an express

permission, written or oral, issued by a competent military authority to search a person or an

area for specified property or evidence or for a specific person and to seize such property

evidence or person.” (emphasis added).

       The Court of Military Appeals has held that “with respect to the performance of his duty

in the finding of probable cause and of authorizing searches, this Court has held that the

commanding officer stands in the same position as his civilian counterpart, the federal

magistrate.” (United States v. Ezell, 6 M.J. 307, 314-15, CMA 1979). The Rules for Courts

Martial are slightly different from Federal Rules of Criminal Procedure, in that they allow for

search authorizations to be provided in writing and/or orally. The Tenth Circuit has previously

upheld oral search authorizations provided by military commanders. See United States v. Brown,

784 F.2d 1033, 1037 (10th Cir. 1986) (“This court has heretofore held that under military rules

oral affidavits and oral authorization of search warrants without contemporaneous writings are

free from any constitutional infirmity. Wallis v. O'Kier, 491 F.2d 1323, 1325 (10th Cir.), cert.

denied, 419 U.S. 901, 95 S.Ct. 185, 42 L.Ed.2d 147 (1974).”). “[T]hat as long as the military

respects the rights guaranteed by the Fourth Amendment's prohibition against unreasonable

searches and seizures, the military need not be bound by all of the procedural formalities that are

imposed upon civilian law enforcement agencies.” Id. (citing United States v. Rogers, 388

F.Supp. 298, 301 (E.D.Va.1975) (internal quotation marks removed).




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           At a hearing on this matter, the United States will show that Colonel Miller orally

amended his original grant of search authority to remove the “condition precedent” – the

controlled delivery of the silencer – having found that probable cause existed without the

delivery. AFOSI planned the controlled delivery in the hopes of arresting Defendant at his home

upon the delivery. They intended to execute the delivery with a United States Postal Service

employee who had specialized training and experience conducting high-risk controlled

deliveries. When that individual became unable to participate on the planned date of delivery,

AFOSI and Colonel Miller became concerned about what Defendant might do if suddenly

cornered with the prospect of being arrested. As a result, Colonel Miller found probable cause

existed and granted search authority without the need to complete the controlled delivery.

       B. Although The Search Authorization And The Resulting Search Were Valid, The
          Good Faith Exception Would Otherwise Apply.

           The exclusionary rule permits courts to exclude unlawfully obtained evidence. See,

e.g., United States v. Hererra, 444 F.3d 1238, 1248 (10th Cir. 2006). But the exclusionary rule is

“harsh” and should only be applied when necessary to further its intended purpose, which is to

“deter police misconduct.” Id. at 1248-49. Improperly obtained evidence is admissible when

officers “act with an objectively ‘reasonable good-faith belief’ that their conduct is lawful or

when their conduct involves only simple, ‘isolated’ negligence…” Davis v. United States, 564

U.S. 229, 238 (2011)(quoting United States v. Leon, 468 U.S. 897, 909 (1984) and Herring v.

United States, 555 U.S. 135, 137 (2009). When law enforcement officers act “in an objectively

reasonable manner, on a mistake made by someone other than the officer,” “there is no illegality

and thus nothing to deter.” United States v. Loera, 923 F.3d 907, 925 (10th Cir.), cert denied,

140 S.Ct. 417, 205 L. Ed. 2d 238 (2019)(citation omitted).




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           When law enforcement officers searched Defendant’s home and truck, they acted on

a valid grant of search authority, which Colonel Miller had orally expanded after finding

probable cause even without the condition precedent. As a result, their actions were lawful, and

the exclusionary rule does not apply. However, even if one were to speculate as to some vague

default in the issuance of the search authority, the officers who searched Defendant’s home and

truck acted reasonably by relying on a statement from their base commander that they had

authority to conduct the search. The good faith exception would therefore apply, and the

evidence should not be excluded. See United States v. Perkins, 78 M.J. 381, 389 (C.A.A.F. 2019)

(finding an agent’s reliance on the commander’s authorization was “good faith” under Mil. R.

Evid. 311(c)(1)(C)).

                                            CONCLUSION

       Colonel Miller lawfully expanded the search authority. Consequently, the search was

valid and legal. Wherefore, for the foregoing reasons, the United States respectfully requests

that the Court deny Defendant’s Motion to Suppress.

                                                    Respectfully submitted,

                                                      JOHN C. ANDERSON
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                                                      Electronically filed

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 I HEREBY CERTIFY that I electronically filed the
 foregoing with the Clerk of the Court
 using the CM/ECF system which will send

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notification to defense counsel of record.

   Filed Electronically
Jon Stanford
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